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SEALED

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

V.

Defendants.

Case: 1:17-cr-00201

Assigned To : Judge Jackson, Amy Berman
Assign. Date : 40/27/2017

Description: INDICTMENT (B)

 

 

FILE”
OCT 27 2017

Glerk, U.S. District & Bankruptcy

Crim. No Courts for the District of Columbia

CHARGES:

18 U.S.C. § 371 (Conspiracy);

18 U.S.C. § 1956(h) (Money Laundering
Conspiracy);

31 U.S.C. §§ 5314 & 5322(b) (Failing to File
Reports Of Foreign Accounts);

22 U.S.C. §§ 612 & 618(a)(1) (Acting as an
Agent of a Foreign Principal Without
Registering);

22 U.S.C. § 618(a)(2) (False and Misleading
Statements in Documents Furnished to the
Attorney General under FARA);

18 U.S.C. § 1001(a) (False Statements)

18 U.S.C. § 2 (Aiding and Abetting; Causing an
Act to be Done)

FORFEITURE ALLEGATION;

18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 982, 28
U.S.C. § 2461(c).

UNDER SEAL

MOTION FOR SEALING OF THE INDICTMENT, WARRANTS, THE INSTANT
MOTION AND TO DELAY ENTRY ON THE PUBLIC DOCKET OF
THE FILING OF THIS MOTION TO SEAL AND ALL RELATED MATTERS

The United States of America, by and through Special Counsel Robert S. Mueller III,

respectfully moves this Court to seal the accompanying Indictment, arrest warrants, and the instant

motion to seal, and to delay entry on the public docket of this motion to seal and all related matters

until at least one of the defendants named in the indictment is in custody. In the support of this

motion, the government states as follows:

The defendants in this case have been indicted for conspiracy against the United States, in

violation of 18 U.S.C. § 371; money laundering conspiracy, in violation of 18 U.S.C. § 1956(h);

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FBAR offenses (failing to report foreign bank and financial accounts), 31 U.S.C. §§ 5314 and
5322(b)); acting as unregistered agents of a foreign principal, in violation of the Foreign Agent
Registration Act (FARA), 22 U.S.C. §§ 612 and 618; making false and misleading statements in
documents furnished to the Attorney General under FARA, in violation of 22 U.S.C. § 618(a)(2);
and making material false statements to the government, in violation of 18 U.S.C. § 1001(a), as
well as aiding and abetting various offenses in violation of 18 U.S.C. § 2.

Law enforcement believes that publicity resulting from disclosure of the Indictment and
related materials on the public record will increase the defendants’ incentive to flee and destroy
(or tamper with) evidence. It is therefore essential that any information concerning the defendants’
facing a pending indictment in this district be kept sealed for the time being.

Accordingly, the government submits that under Washington Post v. Robinson, 935 F.2d
282, 289 n.10 (D.C. Cir. 1991), these facts present an extraordinary situation and a compelling
governmental interest that justifies not only the sealing of the Indictment and all other pleadings,
warrants, records, and files in this case, but also a short delay in the public docketing of these
sealed pleadings and the accompanying order until further order of the Court.

A proposed order accompanies this motion.

Respectfully submitted,

Dated: October 27, 2017 By:

 

sistant Special Counsels
(202) 616-0800
